Q£`/

Case 1:04-cv-OllO7-.]DT-STA Document 15 Filed 05/06/05 Page 1 of 2 Page|D 20

IN TIIE UNITED 51 ‘ATES msTRICT cook q f 3
WESTERN ms'l mc'r oF TENNESSEE

       
 

ii ;`»JJ :'»;" £"\

wESTERN omsloN ._ ` 1 h
GEORGE G'ORDON, } W.D. L. c 5
Plaintiff, )
V_ ) NO. 4-1 107-T1AI.'1
)
QUENTm wHITE, et aL, )
Det-`endants. )

MQLQMEXJ;EML¢EM
Defendant Brent Long respectfully req uests an extension of time to May 16, 2005 in whi :h
to Ele a response to the complaint Said extension of time is requested to obtain counsel and
enable counsel to fully investigate the matter prior to Hling a response
Respe ctfully submitted,
Brent Long f

QE_ILIFL;ATE QF SEBVICE

I hereby certify that a true and aceura1e copy ofthe foregoing was mailed by regular U.S .
mail, postage prepaid, this fz]‘il day of April, 2005 to:

 

 

George Gordon #90017 m 3 §§
HCCF §E_§ x §§
PO Bo)c 679 h _Lj H :_=*< §
1Wi»'hjteville, TN 38075 " : o :___'; o|`
Af l(/'7@ ; :_:;J \; __o
Brem Long J §§ ‘ :_'i 3
c >Q _-D
536 53 c:v
263 r' f"?
-'_* -_l
DATE: 0 "
/
This document entered on the docket sheet in cobn§|iance S. Thomas And arson
wnh nuze 5a and;or 19 (a) FncP on l §§ 'OQ ' U-S- Maoistrate Judge
OD'J

C|:?| Cnn? f IUH |bC??CCCID!RRJ q]h TWMJMUD l]MMD}lH

DISTRICT OURT WESTER D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 15 in
case 1:04-CV-01107 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listcd.

 

 

George Gordon

HARDEMAN COUNTY CORRECTIONAL FACILITY
900 l 7

P.O. Box 679

Whiteville, TN 38075

Brent Long

Northwest Correctional Complex7 Site 2
960 State Rt. 212

Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

